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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

MATTHEW D. GUERTIN                                      Case No: 24-cv-02646-JRT-DLM
                                       Plaintiff,
       v.
HENNEPIN COUNTY, a municipal entity;
KEITH ELLISON, in his official
capacity as Minnesota Attorney General;
MARY MORIARTY, in her official
capacity as Hennepin County Attorney;
CHELA GUZMAN-WEIGART, in her
official capacity as Assistant County
Administrator for Law, Safety, and Justice;
JULIA DAYTON-KLEIN, in her
individual capacity;                                      PLAINTIFF'S REQUEST FOR
GEORGE F. BORER, in his                                      ENTRY OF DEFAULT
individual capacity;                                        AGAINST DEFENDANT
DANIELLE C. MERCURIO, in her                                  BRUCE M. RIVERS
individual capacity;
DR. JILL ROGSTAD, in her official
capacity as Senior Clinical Forensic
Psychologist in the Fourth Judicial District;
DR. ADAM MILZ, in his official capacity
with Hennepin County Mental Health;
JACQUELINE PEREZ, in her
official capacity as Assistant Hennepin
County Attorney;
BRUCE M. RIVERS, in his
individual capacity.
                                   Defendants.


                                      I. INTRODUCTION

      1.      Plaintiff, Matthew Guertin, respectfully requests that the Clerk of the Court enter a

default against Defendant Bruce M. Rivers pursuant to Rule 55(a) of the Federal Rules of Civil

Procedure. This request is made on the grounds that Defendant Rivers has failed to respond to

the complaint within the time required by law.

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                                    II. BACKGROUND

A. Complaint Filed

      Plaintiff filed his Complaint in this action on July 8, 2024, naming Bruce M. Rivers as

      one of the Defendants. The Complaint was served on Defendant Rivers on July 15, 2024.


B. Service

      Proper service was made upon Defendant Rivers, as evidenced by the Affidavit of Service

      filed with this Court on July 12, 2024. This Affidavit of Service is attached directly to this

      request as ‘Exhibit A’.


C. No Response

      Defendant Rivers has failed to file an answer, motion, or otherwise respond to the

      Complaint within the time period allowed by law, which is 21 days after service of the

      Complaint.


D. Ongoing Involvement

      Despite his failure to respond to the Complaint, Bruce M. Rivers has continued to

      represent the Plaintiff despite his objection. This is why the Plaintiff can confirm that

      Bruce Rivers is most certainly aware this Federal Complaint, as he directly acknowledged

      its existence in open court during the Plaintiff’s July 16, 2024 review hearing that took

      place at 1:30 PM in addition to making many mentions of it directly to the Plaintiff.




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                                 III. LEGAL STANDARD

Under Rule 55(a) of the Federal Rules of Civil Procedure, the Clerk of Court must enter a default

against a party who has failed to plead or otherwise defend against a complaint within the time

required by law.



                      IV. REQUEST FOR ENTRY OF DEFAULT

Based on the above, Plaintiff respectfully requests that the Clerk of the Court enter a default

against Defendant Bruce M. Rivers for failure to respond to the Complaint within the time

prescribed by law.



                                V. ATTACHED EXHIBITS


Exhibit A:

       Plaintiff’s July 12, 2024 Affidavit of Service which includes USPS express mail receipt

       scan, and tracking number.



Exhibit B:

       USPS Online Tracking page which confirms that Bruce Rivers personally signed for the

       delivery of Plaintiff’s Complaint on July 15, 2024 at 9:32 AM.




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                                     VI. CONCLUSION

For the reasons stated above, Plaintiff respectfully requests that the Court grant this Request for

Entry of Default against Defendant Bruce M. Rivers, noting his failure to participate in the

proceedings in accordance with the Federal Rules of Civil Procedure.




       Dated: August 14, 2024                               Respectfully submitted,

                                                             /s/ Matthew D. Guertin

                                                            Matthew David Guertin
                                                            Pro Se Plaintiff
                                                            1075 Traditions Ct.
                                                            Chaska, MN 55318
                                                            Telephone: 763-221-4540
                                                            MattGuertin@protonmail.com
                                                            www.MattGuertin.com




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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

MATTHEW D. GUERTIN                                     Case No: 24-cv-02646-JRT-DLM
                                      Plaintiff,
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HENNEPIN COUNTY, a municipal entity;
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capacity as Hennepin County Attorney;
CHELA GUZMAN-WEIGART, in her
official capacity as Assistant County
Administrator for Law, Safety, and Justice;
JULIA DAYTON-KLEIN, in her
individual capacity;
                                                         PLAINTIFF’S AFFIDAVIT OF
GEORGE F. BORER, in his                                          SERVICE
individual capacity;
DANIELLE C. MERCURIO, in her
individual capacity;
DR. JILL ROGSTAD, in her official
capacity as Senior Clinical Forensic
Psychologist in the Fourth Judicial District;
DR. ADAM MILZ, in his official capacity
with Hennepin County Mental Health;
JACQUELINE PEREZ, in her
official capacity as Assistant Hennepin
County Attorney;
BRUCE M. RIVERS, in his
individual capacity.
                                   Defendants.


                                 AFFIDAVIT OF SERVICE




                                                   1


                                                       Entry of Default | Exhibit A | p. 1
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Matthew D. Guertin, County of Carver, in the State of Minnesota, being duly sworn states that

on July 11, 2024, he served a copy of the Plaintiff’s:


   1. COMPLAINT

   2. EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER AND

       IMMEDIATE HEARING; AND ALL ATTACHED EXHIBITS

   3. CIVIL COVER SHEET

   4. COMPLETE LIST OF DEFENDANTS


on the following parties, by mailing one (1) copy of each document listed above, enclosed in a

USPS Priority Mail Express, Flat Rate Envelope, postage prepaid, and by depositing the same in

the United States mail, directed to the following at their address:



DR. JILL ROGSTAD                                      DR. ADAM MILZ
Clinical Forensic Psychologist                        Hennepin County Mental Health
Hennepin County Government Center                     Hennepin County Government Center
300 South Sixth Street                                300 South Sixth Street
Minneapolis, MN 55487                                 Minneapolis, MN 55487
USPS TRACKING - EI993543474US                         USPS TRACKING - EI993543443US



REFEREE DANIELLE C. MERCURIO                          REFEREE GEORGE F. BORER
Hennepin County Government Center                     Hennepin County Government Center
300 South Sixth Street                                300 South Sixth Street
Minneapolis, MN 55487                                 Minneapolis, MN 55487
USPS TRACKING - EI993543488US                         USPS TRACKING - EI993543491US




                                                  2


                                                      Entry of Default | Exhibit A | p. 2
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JUDGE JULIA DAYTON KLEIN                  KEITH ELLISON
Hennepin County Government Center         Minnesota Attorney General
300 South Sixth Street                    445 Minnesota Street, Suite 900
Minneapolis, MN 55487                     St. Paul, MN 55101-2127
USPS TRACKING - EI993543514US             USPS TRACKING - EI993543505US



BRUCE RIVERS                              JACQUELINE PEREZ
Rivers Law Firm, P.A.                     Assistant Hennepin County Attorney
701 4th Ave S, Suite 300                  C-2000 Government Center
Minneapolis, MN 55415                     300 South Sixth Street
USPS TRACKING - EI993542876US             Minneapolis, MN 55487
                                          USPS TRACKING – EI993542880US



MARY MORIARTY                             CHELA GUZMAN-WEIGART
Hennepin County Attorney                  Assistant County Administrator
C-2000 Government Center                  A2303 Government Center
300 South Sixth Street                    300 South 6th Street
Minneapolis, MN 55487                     Minneapolis, MN 55487
USPS TRACKING - EI993542902US             USPS TRACKING - EI993542893US



HENNEPIN COUNTY
A Municipal Entity
A2303 Government Center
300 South 6th Street
Minneapolis, MN 55487
USPS TRACKING – EI993543457US




                                      3


                                          Entry of Default | Exhibit A | p. 3
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I DECLARE UNDER PENALTY OF PERJURY THAT EVERYTHING I HAVE STATED IN

THIS DOCUMENT IS TRUE AND CORRECT. Minn. Stat. § 358.116




Dated: July 12, 2024                           Respectfully submitted,

                                                /s/ Matthew D. Guertin

                                               Matthew David Guertin
                                               Pro Se Plaintiff
                                               1075 Traditions Ct.
                                               Chaska, MN 55318
                                               Telephone: 763-221-4540
                                               MattGuertin@protonmail.com
                                               www.MattGuertin.com




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                                          Entry of Default | Exhibit A | p. 4
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                                  Entry of Default | Exhibit A | p. 5
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                                   Entry of Default | Exhibit A | p. 6
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                                   Entry of Default | Exhibit A | p. 7
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                                   Entry of Default | Exhibit A | p. 8
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                                   Entry of Default | Exhibit A | p. 9
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                                   Entry of Default | Exhibit A | p. 10
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  USPS Tracking
  Tracking Number:

  EI993542876US

      Scheduled Delivery by

      FRIDAY

      12            July
                    2024
                                  by
                                  6:00pm
      Your item was delivered to an individual at the address at 9:32 am on July 15, 2024 in
      MINNEAPOLIS, MN 55415. The item was signed for by B RIVERS.



       Get More Out of USPS Tracking:
           USPS Tracking Plus®


       Delivered
       Delivered, Left with Individual
       MINNEAPOLIS, MN 55415
       July 15, 2024, 9:32 am

       See All Tracking History




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=3&text28777=&tLabels=EI993542876US




                                                   Entry of Default | Exhibit B | p. 1
